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 8              IN THE UNITED STATES DISTRICT COURT FOR THE
 9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,               ) 2:07-CR-314 LKK
                                             )
12             Plaintiff,                    )
                                             )
13        v.                                 ) ORDER CONTINUING STATUS
                                             ) CONFERENCE
14   JOSE LUIS MORALES, et al.,              )
                                             )
15              Defendants.                  )
                                             )
16
17                                     ORDER
18        The parties appeared before the Court on Tuesday, November
19   29, 2011, in case number 2:07-CR-314 LKK.        At that time, based
20   upon the representations and agreement of all counsel, the Court
21   ordered that the case be set for trial to commence on June 26,
22   2012, at 10:30 a.m., and that the time beginning November 29,
23   2011, extending through June 26, 2012, be excluded from the
24   calculation of time under the Speedy Trial Act.         A trial
25   confirmation hearing was set for June 12, 2012, at 9:15 a.m.
26        The exclusion of time is appropriate in order to ensure
27   continuity of counsel.    18 U.S.C. § 3161(h)(7)(B)(iv); Local Code
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 1   T4.   Multiple counsel have other matters set in both federal and
 2   state courts prior to June 2012 that prevent them from trying
 3   this case sooner.     Consequently, an earlier trial date is not
 4   possible.
 5         The additional time is necessary to ensure defense counsel’s
 6   effective preparation, taking into account the exercise of due
 7   diligence.   Id.    In particular, counsel for Juan Morales was
 8   appointed on September 20, 2011, and has not had sufficient time
 9   to review the case file.      In addition, counsel for Jose Luis
10   Morales has indicated that he intends to file a motion to
11   withdraw from the case.      This motion is set to be heard by the
12   Court on December 13, 2011.      In the event that this motion is
13   granted, the six months between the date of this order and the
14   start of trial will be needed in order to allow a newly-appointed
15   attorney time to prepare.
16         ACCORDINGLY, it is hereby ordered that the case be set for
17   trial to commence on June 26, 2012, at 10:30 a.m., and that the
18   time between November 29, 2011, and June 26, 2012, be excluded
19   from the calculation of time under the Speedy Trial Act.            The
20   Court finds that the interests of justice served by granting this
21   continuance outweigh the best interests of the public and the
22   defendant in a speedy trial.       18 U.S.C. § 3161(h)(7)(A).
23         IT IS SO ORDERED.
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     Dated: November 30, 2011
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                                        2                Order After Hearing
                                                     U.S. v. Morales, et al.
                                                                2:07-314 LKK
